     Case 1:94-cr-01009-MP-GRJ           Document 1169        Filed 10/21/11      Page 1 of 2


                                                                                           Page 1 of 2


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           CASE NO. 1:94-cr-01009-MP-AK-2

CLAUDE LOUIS DUBOC,

       Defendant.

_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 1168, Motion for Reconsideration by Claude

Louise Duboc. On August 22, 2011, the government submitted a motion to amend the order of

forfeiture of the assets belonging to defendant, Claude Louis Duboc. On September 12, 2011,

the Court granted the government's motion to amend the order of forfeiture. On September 27,

2011, defendant filed a motion for enlargement of time to respond to the government’s motion to

amend the order of forfeiture, which the Court denied.

       Defendant now moves the Court for reconsideration of its order denying him an

enlargement of time to respond to the government’s motion. Defendant states that he did not

receive a complete copy of the government’s motion until September 19, 2011, which was after

the deadline to timely respond. Upon reconsideration, the Court will allow defendant to file a

response out of time. However, the Court will not vacate or stay the final order of forfeiture at

this time but will consider defendant’s response when filed. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      Defendant’s motion for reconsideration, Doc. 1168, is GRANTED.
     Case 1:94-cr-01009-MP-GRJ          Document 1169        Filed 10/21/11   Page 2 of 2


                                                                                      Page 2 of 2


        2.       Defendant may respond to the government’s motion to amend the order of
                 forfeiture on or before November 11, 2011.


        DONE AND ORDERED this            21st day of October, 2011


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




Case No: 1:94-cr-01009-MP-AK-1
